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               EXHIBIT B
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-----Original Message-----
From: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Sent: Friday, August 21, 2020 10:58 AM
To: Baker, Stewart <Sbaker@steptoe.com>
Cc: Hirsch, David <dhirsch@Steptoe.com>; Wellman, Pamela G CIV USARMY USACE (USA) <Pamela.Wellman@usace.army.mil>;
Merchant, Randall C CIV USARMY CESWF (USA) <Randall.C.Merchant@usace.army.mil>; Payton, Brian D CIV USARMY CESWF
(USA) <Brian.D.Payton@usace.army.mil>
Subject: RE: Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)

Mr. Baker:

There is a backlog of Border requests and not much has been released to date. We are working diligently to get this backlog taken care
of. We will provide you with your information as quickly as possible. Remember that we are working in a limited capability right now.

                                                                  1
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Delene R. Smith
Paralegal Specialist/FOIA Officer
CISM Team Member
Office of Counsel
Fort Worth District
(817) 886-1148 (Office)
delene.r.smith@usace.army.mil


-----Original Message-----
From: Baker, Stewart [mailto:Sbaker@steptoe.com]
Sent: Friday, August 21, 2020 9:55 AM
To: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Cc: Hirsch, David <dhirsch@Steptoe.com>; Wellman, Pamela G CIV USARMY USACE (USA) <Pamela.Wellman@usace.army.mil>;
Merchant, Randall C CIV USARMY CESWF (USA) <Randall.C.Merchant@usace.army.mil>; Payton, Brian D CIV USARMY CESWF
(USA) <Brian.D.Payton@usace.army.mil>
Subject: [Non-DoD Source] RE: Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)

Thank you. It is a near certainty that this and other contracts have already been the subject of FOIA releases. Once released under
FOIA to one party, material may also be released to others. I hope that this will minimize search and coordination time.

-----Original Message-----
From: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Sent: Friday, August 21, 2020 10:52 AM
To: Baker, Stewart <Sbaker@steptoe.com>
Cc: Hirsch, David <dhirsch@Steptoe.com>; Wellman, Pamela G CIV USARMY USACE (USA) <Pamela.Wellman@usace.army.mil>;
Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>; Merchant, Randall C CIV USARMY CESWF (USA)
<Randall.C.Merchant@usace.army.mil>; Payton, Brian D CIV USARMY CESWF (USA) <Brian.D.Payton@usace.army.mil>
Subject: RE: Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)
Importance: High

Mr. Baker:

I do not need a guarantee of payment other than your statement to agree to pay which you have already made. Please note that we do
not agree that you are an "All Others" fee category but that will be addressed with your fee waiver determination. Also, due to COVID
we are all working from home and the fact that this is a request for Border contract documents. All contract documents must be
coordinated with the prime contractor pursuant to Executive Order 12,600. Since this is regarding the Border Wall construction, it must
also be coordinated with other agencies so it will take a little while to provide you with the requested information.

Delene R. Smith
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delene.r.smith@usace.army.mil


-----Original Message-----
From: Baker, Stewart [mailto:Sbaker@steptoe.com]
Sent: Friday, August 21, 2020 9:48 AM
To: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Cc: Hirsch, David <dhirsch@Steptoe.com>; Wellman, Pamela G CIV USARMY USACE (USA) <Pamela.Wellman@usace.army.mil>
Subject: [Non-DoD Source] RE: Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)

OK. And what guarantee of payment do you need? I don't want any delay in receiving the requested information.

-----Original Message-----
From: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Sent: Friday, August 21, 2020 10:45 AM
To: Baker, Stewart <Sbaker@steptoe.com>
Cc: Hirsch, David <dhirsch@Steptoe.com>; Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>;
Wellman, Pamela G CIV USARMY USACE (USA) <Pamela.Wellman@usace.army.mil>
Subject: RE: Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)

Mr. Baker:

We have already sent your request to the office of record to begin the search. We do not need anything else from you at the moment.
                                                                   2
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Delene R. Smith
Paralegal Specialist/FOIA Officer
CISM Team Member
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delene.r.smith@usace.army.mil


-----Original Message-----
From: Baker, Stewart [mailto:Sbaker@steptoe.com]
Sent: Friday, August 21, 2020 9:19 AM
To: Smith, Delene R CIV USARMY CESWF (US) <Delene.R.Smith@usace.army.mil>
Cc: Hirsch, David <dhirsch@Steptoe.com>
Subject: [Non-DoD Source] Fee waiver and payment guarantee for Freedom of Information Act (FOIA) 20-0111 (FP-20-026473)

1. I would like the search to proceed without waiting for a determination on the fee waiver. We will pay the fee up to $1,000 if a waiver is
denied.

2. I am happy to provide a payment guarantee of $1,000. How can I do that?




                                                                     3
